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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                              Magistrate Judge S. Kato Crews

Civil Action: 20-cv-00451-SKC                        Date: November 7, 2022
Courtroom Deputy: Amanda Montoya                     FTR – Reporter Deck-Courtroom C-201*

 Parties:                                                    Counsel:

 TIFFANY GRAYS,                                              Pro se

      Plaintiff,

 v.

 BLACKHAWK AQUISITION, LLC,                                  Courtney Bartkus
                                                             Erik Josa

      Defendant.


                                  COURTROOM MINUTES

HEARING: TELEPHONE STATUS CONFERENCE
Court in session: 10:01 a.m.
Court calls case. Appearances of counsel.

Discussion regarding what discovery had been conducted prior to the stay being issued. Ms.
Grays has served 21 interrogatories, 25 requests for production, and 25 requests for admission.
Blackhawk has served 14 interrogatories, 13 or 14 requests for production, and 13 or 14 requests
for admission. Plaintiff has already disclosed and provided reports for 2 retained experts. No
depositions have been taken. The limitations from the prior scheduling order remain.

ORDERED: Discovery cut-off: March 7, 2023
         Rebuttal exert disclosure deadline: January 9, 2023
         Dispositive motion deadline: April 6, 2023
         Deadline to serve responses for any outstanding discovery: December 7, 2022

At this time the Court will hold the Final Pretrial and Trial Preparation Conference by phone at
the request of the Plaintiff. If the Court feels it necessary to have the conference in person, a
status conference will be set to discuss.

TELEPHONE FINAL PRETRIAL AND TRIAL PREPARATION CONFERENCE is set
for August 15, 2023 at 10:30 a.m. Final Pretrial Order is due no later than SEVEN (7)
CALENDAR DAYS before the Final Pretrial Conference. Counsel shall refer to the Consent
Case Practice and Trial Preparation Order docketed in this case for specifics on preparing the
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proposed final pretrial order. Parties should be prepared to set a trial date one to two months out
from this conference. At the scheduled time, parties shall call the court provided conference line
at (888) 251-2909, access code: 5662814#.

Brief discussion regarding discovery disputes from both sides. Parties shall continue to confer.

ORDERED: A Telephone Discovery Hearing is set for December 19, 2022 at 1:30 p.m. On
         or before December 12, 2022, parties shall jointly email chambers attaching all
         discovery that is in dispute including responses. At the scheduled time, parties
         shall call the court provided conference line at (888) 251-2909, access code:
         5662814#.

Discussion regarding [66] Plaintiff’s Notice of Errata to Plaintiff’s Third Amended Complaint.
Plaintiff confirms that all parts of [52] Third Amended Complaint appear to be attached.

HEARING CONCLUDED.
Court in recess: 10:42 a.m.
Total time in court: 00:41

*To order transcripts of hearings, please contact either Patterson Transcription Company at (303)
755-4536 or AB Litigation Services at (303) 629-8534.
